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                UNITED STATES DISTRICT COURT
              FOR THE EASTERN DISTRICT OF TEXAS
                      SHERMAN DIVISION

IN THE MATTER OF: §
                                                  §
DILIP JANA §                                            Civil Action No. 4:24-cv-00698-SDJ-BD



v.
    Plaintiff,

                                  §
                                               §
                                                  §                                      LED
                                                  §                                  JUN 3 0 2025
WALMART, INC., §
                                                                            CLERK, U.S. DISTRICT COU T
    Defendant.                                  §                                  TEXAS EASTERN



   PLAINTIFF S NOTICE OF INITIAL DISCLOSURE AND SUPPLEMENTAL INITIAL
                                              DISCLOSURE




Pursuant to Federal Rule of Civil Procedure 26(a)(1) and Local Rule CV-26(c), Pro Se Plaintiff Dilip

Jana hereby notifies the Court that:


    • Plaintiff served Initial Disclosures on April 7, 2025, to Defendant Walmart Inc., and

    • Plaintiff supplemented those disclosures on June 25, 2025.


Plaintiff submits this Notice to comply with the requirements of the Federal Rules of Civil Procedure

and the Local Rules of the Eastern District of Texas.




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Dated: June 30, 2025

                                                    Respectfully Submitted,




                                             DILIP JANA, Phiintiff
                                                      Pro Se
                                             Telephone : 318-243-9743
                                             Email: ja adili </ gmail.com
                                             800 Fairlawn St, Allen, TX, 75002




                                    CERTIFICATE OF SERVICE


On June 30, 2025, a true and correct copy of the foregoing was served u on the following through the

Court s CM/ECF system:

Peter S. Wahby                      Morgan E. Jones                   Holmes H. Hampton
Texas Bar No. 24011171            Texas Bar No. 24132301             Texas Bar No. 24144019
Peter.wahby@gtlaw.com              Morgan.jones@gtlaw.com            holmes.hampton@gtlaw.com

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Telephone: 214.665.3600
Facsimile: 214.665.3601
ATTORNEYS FOR DEFENDANT WALMART INC.

Dated: June 30, 2025

                                                           Respectfully Submitted




                                                           Dilip Jana, pro se Plaintiff
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                                                            EMail: anadilip@gmail.com
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